                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION


UNITED STATES OF AMERICA        )                      DOCKET NO. 5:97CR67-V
                                )
           vs.                  )                             ORDER
                                )                      TO DISMISS INDICTMENT
(2) ALEJANDRO MALDONADO         )
_________________________________ )


       Leave of Court is hereby granted for the dismissal of the Bill of Indictment (as it pertains to

ALEJANDRO MALDONADO only) in the above-captioned case without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshal’s Service, and the United States Attorney's Office.


                                                   Signed: June 19, 2009




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